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   13                          UNITED STATES DISTRICT COURT
   14                     CENTRAL DISTRICT OF CALIFORNIA

   15                                EASTERN DIVISION
        RASHUN TURNER, et al., on behalf of       Case No. 5:16-CV-00355-VAP (DTBx)
   16 themselves and all others similarly
        situated,                                 [Proposed] ORDER SETTING
   17                                             BRIEFING SCHEDULE AND
                    Plaintiffs,                   HEARING DATE FOR FAIRNESS
   18                                             HEARING
        v.
   19 COUNTY OF SAN BERNARDINO,                   District Court Judge Virginia A.
                                                  Phillips
   20               Defendant.                    Magistrate Judge David T. Bristow
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   25                                         1
                                       ORDER FOR BRIEFING SCHED AND HEARING DATE
                                                     CASE NO. 5:16-CV-00355 VAP (DTBX)
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    2                  Good cause appearing, IT IS HEREBY ORDERED that:
    3          On October 15, 2018, the parties shall file briefs in response to comments

    4   from class members on whether the proposed Consent Decree is “fair, reasonable
                        and adequate.” Fed. Rule Civ. Proc., Rule 23.
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             A fairness hearing shall be held on October 29, 2018 at 2:00 p.m. on whether
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                        the Court should approve the Consent Decree.
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   10 Dated: July 13, 2018              ______________________
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                                        UNITTED STATES DISTRICT
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                                                                 COURT
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                                       ORDER FOR BRIEFING SCHED AND HEARING DATE
                                                     CASE NO. 5:16-CV-00355 VAP (DTBX)
